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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                      UNITED STATES DISTRICT COURT                             September 21, 2018
                       SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                           HOUSTON DIVISION


UNITED STATES OF AMERICA, et al.
    Plaintiff

v.                                                      Civil Action No. 4:18−cv−03368

City of Houston, Texas
      Defendant

                      ORDER FOR CONFERENCE AND
                   DISCLOSURE OF INTERESTED PARTIES

1.   Counsel shall appear for an initial pretrial and scheduling conference before

                     United States District Judge Ewing Werlein, Jr.
                          Friday, January 11,2019 at 03:00 PM
                           515 Rusk, 11th Floor, Room 11521
                                  Houston, Texas 77002

     After all Defendants have answered, if all parties desire an earlier date for the
     conference, they should make a joint request to the Case Manager, Ms. Marilyn
     Flores, at 713−250−5533.

2.   Counsel shall file with the clerk within fifteen days from receipt of this order a
     certificate listing all persons, associations of persons, firms, partnerships,
     corporations, affiliates, parent corporations, or other entities that are financially
     interested in the outcome of this litigation. If a group can be specified by a
     general description, individual listing is not necessary. Underline the name of
     each corporation whose securities are publicly traded. If new parties are added or
     if additional persons or entities that are financially interested in the outcome of
     the litigation are identified at any time during the pendency of this litigation, then
     each counsel shall promptly file an amended certificate with the clerk.

3.   Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 90 days after the
     filing of the complaint. The failure of plaintiff(s) to file proof of service within
     90 days after the filing of the complaint may result in dismissal of this action by
     the court on its own initiative.

4.   After the parties confer as required by Fed. R. Civ. P. 26(f), counsel shall prepare
     and file not less than 10 days before the conference a joint discovery/case
     management plan. A form can be found at www.txs.uscourts.gov under the
     Judge's Procedures.

5.   The court will enter a scheduling and may rule on any pending motions at the
     conference.
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6.    Counsel who file or remove an action must serve a copy of this order with the
      summons and complaint or with the notice of removal.

7.    Attendance by an attorney who has knowledge of the facts and authority to bind
      the party is required at the conference.

8.    Counsel shall discuss with their clients and each other whether alternative dispute
      resolution is appropriate and at the conference advise the court of the resulsts of
      their discussions.

9.    A person litigating pro se is bound by the requirements imposed upon counsel in
      this Order.

10.   Failure to comply with this order may result in sanctions, including dismissal of
      the action and assessment of fees and costs.

Court's Procedures: Information on the court's practices and procedures and how to
reach court personnel may be obtained at the Clerk's website at www.txs.uscourts.gov
or from the intake desk of the Clerk's office.
